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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

DAN P. RESTELLI AND                              §
DONNA C. NOVAK,                                  §
                                                 §
              Plaintiffs,                        §
                                                 §
V.                                               §
                                                 §            NO. A-1:14-CV-00445-LY
NATIONAL ASSOCIATION OF                          §
FINANCIAL ESTATE PLANNING, INC.,                 §
ASSET EXCHANGE STRATEGIES,                       §
L.L.C., SCOTT JANKO, DAN CORDOBA                 §
AND JEREMY FARVER                                §
                                                 §
              Defendants.                        §


                    ASSET EXCHANGE STRATEGIES, L.L.C.’S
             DISCLOSURE OF CORPORATION INTERESTS STATEMENT



       Pursuant to Federal Rules of Civil Procedure 7.1, Asset Exchange Strategies, L.L.C., by

and through its undersigned counsel, submits this Disclosure of Corporation Interests Statement.

1.     Asset Exchange Strategies, L.L.C. is a for profit limited liability corporation

1.     The parent companies of the corporation:

       N/A

2.     Subsidiaries not wholly owned by the corporation:

       N/A

3.     Any publicly held company that owns ten percent (10%) or more of the corporation:

       N/A
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Dated: June 23, 2013                        Respectfully submitted,


                                            By:
                                                  Henry J. Novak
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                                            ATTORNEY FOR DEFENDANT
                                            ASSET EXCHANGE STRATEGIES, LLC


                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have
consented to electronic service are being served with a copy of this document via the Court's
CM/ECF system per Local Rule CV-5(b)(1) this 23rd day of June, 2014.

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Dan P. Restelli and Donna C. Novak




                                                  Henry J. Novak




AES DISCLOSURE OF CORPORATION INTERESTS STATEMENT                                          2
